Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 1 of 41 Page ID
                                  #:91337
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 2 of 41 Page ID
                                  #:91338
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 3 of 41 Page ID
                                  #:91339
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 4 of 41 Page ID
                                  #:91340
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 5 of 41 Page ID
                                  #:91341
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 6 of 41 Page ID
                                  #:91342
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 7 of 41 Page ID
                                  #:91343
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 8 of 41 Page ID
                                  #:91344
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 9 of 41 Page ID
                                  #:91345
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 10 of 41 Page ID
                                  #:91346
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 11 of 41 Page ID
                                  #:91347
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 12 of 41 Page ID
                                  #:91348
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 13 of 41 Page ID
                                  #:91349
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 14 of 41 Page ID
                                  #:91350
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 15 of 41 Page ID
                                  #:91351
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 16 of 41 Page ID
                                  #:91352
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 17 of 41 Page ID
                                  #:91353
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 18 of 41 Page ID
                                  #:91354
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 19 of 41 Page ID
                                  #:91355
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 20 of 41 Page ID
                                  #:91356
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 21 of 41 Page ID
                                  #:91357
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 22 of 41 Page ID
                                  #:91358
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 23 of 41 Page ID
                                  #:91359
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 24 of 41 Page ID
                                  #:91360
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 25 of 41 Page ID
                                  #:91361
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 26 of 41 Page ID
                                  #:91362
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 27 of 41 Page ID
                                  #:91363
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 28 of 41 Page ID
                                  #:91364
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 29 of 41 Page ID
                                  #:91365
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 30 of 41 Page ID
                                  #:91366
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 31 of 41 Page ID
                                  #:91367
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 32 of 41 Page ID
                                  #:91368
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 33 of 41 Page ID
                                  #:91369
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 34 of 41 Page ID
                                  #:91370
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 35 of 41 Page ID
                                  #:91371
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 36 of 41 Page ID
                                  #:91372
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 37 of 41 Page ID
                                  #:91373
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 38 of 41 Page ID
                                  #:91374
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 39 of 41 Page ID
                                  #:91375
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 40 of 41 Page ID
                                  #:91376
Case 8:14-cv-00341-JVS-DFM Document 1802-1 Filed 12/21/17 Page 41 of 41 Page ID
                                  #:91377
